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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                            *          CRIMINAL NO. 24-105

                      v.                             *          SECTION: “D”

 RYAN J. HARRIS, et al.                              *

                                          *          *      *

MOTION FOR LEAVE TO FILE GOVERNMENT’S OPPOSITION TO DEFENDANTS’
         MOTION TO SEVER IN EXCESS OF PAGE LIMITATIONS

       NOW INTO COURT comes the United States of America, through the undersigned

attorneys, and moves for leave to file the accompanying memorandum in excess of the page

limitations of this Court’s local rules. Local Rule 7.7 states that a memoradum opposing a

motion must not exceed 25 pages, excluding exhibits. The government’s attached memorandum

in opposition to defendants’ motion to sever is 47 pages. This memorandum is a consolidated

memorandum opposing the motions to sever by seven defendants. Further, severance is a fact-

intensive inquiry. Accordingly, there is good cause to grant this motion and allow a filing in

excess of the page limitations of the local rules.


                                                         Respectfully submitted,

                                                         MICHAEL M. SIMPSON
                                                         ACTING UNITED STATES ATTORNEY


                                                         /s/ Matthew R. Payne
                                                         MATTHEW R. PAYNE
                                                         BRIAN M. KLEBBA
                                                         MARY KATHERINE KAUFMAN
                                                         Assistant United States Attorneys
                                                         J. RYAN McLAREN
                                                         Trial Attorney
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 19, 2025, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system, which will send a notice of electronic filing to all counsel
of record.

                                                /s/ Matthew R. Payne
                                                MATTHEW R. PAYNE
                                                Assistant United States Attorney
